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                         IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                                              CIVIL JURY TRIAL
Katie J. Felder, as trustee for the next of kin                 AMENDED COURT MINUTES
of Dominic Aries Felder                                           Case Number: 07-4929(DSD/JJK)
                          Plaintiff,
  v.                                                    Date:                   October 25, 2010
                                                        Court Reporter:         Lorilee Fink
Jason King, individually, et al.                        Time:                   4:20-4:32 p.m.
                        Defendants.                     Time in Court:          12 Minutes

Trial before David S. Doty, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:

  For Plaintiff:      James Behrenbrinker & Douglas Micko
  For Defendant:      Timothy Skarda & Sara Lathrop

PROCEEDINGS:

  : JURY Trial Held.
  : Jury resumed deliberations.

  : Verdict returned at 4:20 p.m. for:
    : Plaintiff
    9 Defendant

IT IS ORDERED:

  : Clerk to file Verdict and enter Judgment.


CLERK'S USE ONLY:

  9 Number of trial days with evidence - .
  : Exhibits returned to counsel.

                                                                                                s/C.B.
                                                                                              Calendar Clerk
